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     )                         LINITEDSTATESDISTRICTCOURT
 a
                              WESTERNDISTRICTOF WASHINGTON
     5                                   T SEATTLE

 6       In Re Subpoena
                      for Documents,                       2:18-mc-00062 RSL
                                                   )
                                                   )
 7
         eNOM, INC.,                               )   MOTION TO eUASH
 8                                                 )   SUBPOENA FOR DOCUMENTS
                       Subpoenaed
                                Party,             )
 9                                                 )   Note for 29 June2018
         UnnamedDomain Owner,                      )
l0
                                                   )   (Oral argumentrequested)
l1
                       Movant.
                                                   ]
                                                   )
t2
                                     STATEMENTOF MOTION
l3

l4
                MovantunnamedDomainowner movesto quasha non-partysubpoena

t5       issuedout of theU.S.DistrictCourtfor the WesternDistrictof Virginiain civil case
l6       No. 3:17-cv-00072-NKM
                             (filedoct. 11,2017),captioned
                                                         Sines,et al v. Kessler,et
t7
         al. Thesubpoena
                       wasissuedat therequestof oneof the defendants
                                                                  in thatcase,
l8
         MichaelPeinovich.(ExhibitA "subpoena").Thefirst amended
                                                               complaintin this
t9

20
         underlyingcaseis attached
                                 asExhibitB (the"Complaint")to this motion.

2l

22
                                           BACKGROUND
ZJ
                The casein Sines,et al v. Kessler, et al afisesout of the violent white
1A


         nationalist"Unite the Right" gatheringthat took place in Charlottesville,Virginia on
25

         August 11 and 12,2017. Plaintiffs in the litigation are individuals seriouslyinjured
26

                                                                                 Rar,pn Hunvlrz
                                                                                       AtroRNty
                                                                                       P.().B()\ 2S(;-t2
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                                                                                          2 0 6 . 2 2 1 .t 7 + 7
              Case 2:18-mc-00062-RSL Document 1 Filed 06/08/18 Page 2 of 14



      l   by white nationalistsduring the eventsof August 11 and 12, including one plaintiff

      2   who suffereda strokeas a result of his injuries, and two plaintiffs who were struckby
      J
          a car in the car attackthat killed anti-racistcounter-protester
                                                                        HeatherHeyer, and
      4
          seriouslyinjured at least 19 otherpeople. Defendantsin the caseare twenty-five
      5
          individuals and organizationswho were the key organizersof and participantsin the
      6

  7       unite the Right rally, along with a numberof unnamedco-conspirators.The

  8       Complaintallegesthat defendants"conspiredto plan, promote,and carry out the
  9
          violent eventsin charlottesville" (Ex. B fl 3), and seeksmoney damagesand
l0
          injunctive relief.
ll
                 The subpoenaat issuein this motion to quashwas issuedby one of thepro se
T2

l3        Defendantsin the caseMichael "Enoch" Peinovich. DefendantPeinovich,who self-

T4        identifiesas a white nationalistor ethno-nationalist,
                                                             was one of the most prominent
ri)
          organizersof the Unite the Right event,and was advertisedas a speakerfor the event.
t6
          He is the creatorof the popularneo-Naziblog and websiteThe Right Stuff, is a co-
t7
          host of the white nationalistDaily Shoahpodcast,and is a frequentspeakerat white
l8

to        nationalistand neo-Nazieventsaroundthe country. (Ex. B n 4D.

20               At DefendantPeinovich'srequest,the clerk's office in the WesternDistrict of

2I
          Virginia issuedthe subpoenachallengedhere. The subpoenawas issuedto eNom,
22
          Inc., a domainnameregistrarand Web hostingcompanyheadquartered
                                                                       in Kirkland,
z3

          Washington(eNom). The subpoenaseeks"fc]ommunications,documents,and
A A




25
          MOTTON TO QUASH SUBPOENA-2

26

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                                                                                     Ar"roRNuy
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                                                                                S I : Al " f l - h ,W A 9 t t I ( ) 5
                                                                                               2 0 6 . 2 2 1t .7 + i
           Case 2:18-mc-00062-RSL Document 1 Filed 06/08/18 Page 3 of 14



 I                  storedinformation]sufficientto identiS'thepersons,including
      [electronically
 z
      entities,thathavepresentlyregistered
                                         or everin thepastregistered"
                                                                    two website
 3
      domains.
 A
 T


             Movantin the instantmatteris the ownerof oneof the domainstargetedby
 5

      the subpoena.
                 (eNomhasinformedDefendantPeinovichthatthe seconddomainis
 6

 7    not actuallyregistered
                           with eNom,but is registered
                                                     througha differentcompany.
 8    (Exhibitc "Declaration
                           of counsel").Pursuant
                                               to its subpoena
                                                             policy,eNomhas
 c)
      providedMovantwith noticeof the subpoena
                                             in orderto giveMovantsufficienttime
IO
      to challengeits validity. eNomhasrepresented
                                                 to Movantthatit will not comply
ll
      with the subpoena
                      pendingthe outcomeof this motionto quash.(ExhibitC
T2

l3    Declarationof Counsel).

t4                                     ARGUMENT
l5
      A.     MOVANT HAS STANDINGTO BRING THIS MOTION TO QUASH
I6
             An individualhaspersonalright in informationin his or herprofileandinbox
I7
      on socialnetworkingsiteandhis or herwebmailinboxin sameway thatindividual
18

l9    haspersonalright in employment
                                   andbankrecords;aswith bankandemployment

20    records,this personalright is sufficientto conferstandingto moveto quashsubpoena
2T
      seekingsuchinformationunderFed.R. Civ. P. 45. Crispinv. ChristianAudigier,
22
      Inc.,7l7F. Supp.2d965,974(C.D.CaI.2010).
z5

             As arguedbelow,the movanthasfirst amendment
                                                      privilegeto anonymous
24

25    speech.
            To the extentthatthe subpoena
                                        ultimatelyseeksthe identitiesof anonymous

26    MOTTONTO QUASHSUBPOENA-3
                                                                       Rar,pn HuRvrrz
                                                                             At'toRNuv

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     Case 2:18-mc-00062-RSL Document 1 Filed 06/08/18 Page 4 of 14



contributors
           of themovant'sonlinenewsservice,the movantalsohasa first

amendment
       privilegeto shieldits sources.
                                    See,O'Gradyv. SuperiorCourt,139Cal.

App.4th 1423,1468(2006).Also arguedbelow,the StoredCommunications
                                                               Act

prohibitstheuseof a civil discoverysubpoena
                                          for the informationsought.

B.     THE WESTERNDISTRICTOF WASHINGTONIS THE PROPER
       TRIBLTNALFOR OBJECTIONTO THE SUBPOENA.

       TheFederalRulesweresignificantlyamended
                                             rn 2013to clariSrandsimpliff

Rule45 subpoenas.
               TheRulesnow requireall subpoenas
                                              to be issuedfrom the

districtcourtwherethe actionis pending.[iee,Fed.R. Civ. p. a5@)(2).However,in

the caseof discoverysubpoenas
                           to non-parties,
                                        theprimaryforumfor resolving

motionsto quashor modif, is the districtcourtfor the "districtwherecompliance
                                                                            is

required"Fed.R. Civ. P. 45(dX2XB)(i).Thatcourthasprimaryresponsibility
                                                                     for

modifuing,quashing,
                  or enforcingsubpoenas
                                      directedto personswithin its

jurisdictionunderRule45(c),whichsetscertaingeographic
                                                    limits. See,Ellis v.

ArrowoodIndem.co.,2014wL 4365273,
                               at 2 (s.D. W. va. Sept.2, 2014);Fed.R.

Civ. P. 45(f),advisorycommittee's
                                noteto 2013amendment
                                                  ("subpoenas
                                                            are

essential
       to obtaindiscoveryfrom nonparties.
                                       To protectlocalnonparties,
                                                               local

resolutionof disputesaboutsubpoenas
                                  is assured
                                           by the limitationsof Rule45(c)and

therequirements
             in Rules45(d)and(e) thatmotionsbe madein the courtin which

compliance
         is requiredunderRule45(c).").

       In this case,the subpoenaed
                                entity,eNomInc.,is headquartered
                                                              andhasits

MOTION TO QUASH SUBPOENA-4

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                                                                       AtroRNuy
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     Case 2:18-mc-00062-RSL Document 1 Filed 06/08/18 Page 5 of 14



primaryplaceof business
                      at 5808LakeWashington
                                          Blvd. NE, Suite201Kirkland,

WA 98033.(Ex.A Subpoena).
                       Therefore,
                                thepropercompliance
                                                  districtis the

united StatesDistrictcourt for the westernDistrictof washington.

       Thesubpoenaing
                    partydesignated
                                  "PO Box 1069HopewellJunction,NY

12533"astheplaceof compliance.
                            Notwithstanding
                                          thatineffectivedesignation,
                                                                   the

realplaceof compliance
                     is the districtin whichthe subpoenaed
                                                        partyis located.

C.     THE SUBPOENAMUST BE QUA.SHEDBECAUSEIT COMMANDS
       COMPLIANCEMORETHAN lOOMILES FROM WHERETHE
       SUBPOENAEDENTITY RESIDES,IS EMPLOYED.OR REGULARLY
       TRANSACTSBUSINESS.

       Rule45(d)(3XA)states,"On timelymotion,the courtfor the districtwhere

compliance
         is requiredmustquashor modifya subpoenathat...
                                                     (ii) requiresa

personto complybeyondthe geographical
                                   limits specifiedin Rulea5(c).In the case

of subpoenas
          requesting
                   documents
                           or tangiblethings,the subpoena
                                                        may only

command"production"of documents,
                              ESI,or tangiblethingsat a placewithin 100

milesof wherethe subpoena
                        recipientresides,is employedor regularlytransacts

business
       in person.See,Fed.R. Civ.P. a5(c)(2)(A).

       Thecourtmaytakejudicialnoticethat apostofficebox in HopewellJunction,

New York is morethan100milesfrom 5808LakeWashington
                                                  Blvd. in Kirkland,

Washington.

       Thisrule is a mandatory,
                             non-waivable
                                        defect.It appliesregardless
                                                                  of whether

compliance
         by electronicor U.S.mail is requested.
                                             Consequently,
                                                        the subpoena
                                                                   must

MOTION TO QUASH SUBPOENA-s

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          Case 2:18-mc-00062-RSL Document 1 Filed 06/08/18 Page 6 of 14



 1   be quashed.

 2   D.     THE SUBPOENAMUST BE QUASHEDBECAUSEOF DEFECTIVE
 3
            SERVICE.

 A
 a          The2013amendment
                          to Rule45 clarifiedthata subpoen
                                                         a maybe servedat
 5   anyplacewithin the UnitedStates.However,a subpoenamay
                                                         not be servedby a
 6
     partyto an action.FedRuleCiv. R 45(b)(1).
 7
            Movantreceivednoticeof this subpoena
                                               from counselfor eNom,who stated
 8
     that they receivedservicefrom Michael Peinovichby electronicmail on eNom to
 9

t0   legal@enom.com.
                  (Ex.C Declaration
                                  of Counsel
                                          fl 7).
ll          Additionally, a subpoenaservedon a non-partywitnessmust be servedon all
L2
     partiesto action.Callananv.Riggers& Erectors,149F.R.D. 519 (D.V.I.1992).The
l5
     movant is not awareof any proof of servicefiled with that court. As of June5, 2018,
t4
     examinationof the court docketin caseSineset al v. Kessleret al3:17-cv-00072-
l5

l6   NKM-JCH did not revealand proof of servicefiled in relationto this subpoena.

t7        Furthermore,the use of a post office box as the compliancelocation is a suspect

IB
     practicebecause,amongother reasons,it fi:ustratesserviceof legal process,suchas
l9
     this motion to quash.
20
     E.     THE SUBPOENA WAS NOT ISSUED IN GOOD FAITH.
2l

22          The subpoenadoesnot seekinformationthat is relevantto the underlying

z3   litigation. Rather,the Movant is informed and believesthat Peinovichwill seekto

24
     publish or disseminateprivate information obtainedthroughthe subpoenain an
25
     MOTTON TO QUASH SUBPOENA-6
26

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                                                                                 AttonNpv
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  t   attemptto harassand attackpeopleassociatedwith the targeteddomains.The

  2   subpoenaingparty is a bloggerand founderof the podcastThe Daily Shoahand alt-

      right media hub The Right Stuff, foundedon a core principle of ethno-nationalism.
  A
  a


      (Ex. D The Guardian-Making Senseof the Alt Right p.2). Movant believesthat
  5
      Peinovichseeksto publish private information of its usersso that they may be
  6

  7   exposedto a "troll storm."

  8         Peinovichis publicly associatedwith co-defendantRichard Spencer;alleged
 9
      in the complaintas the headof a white nationalist"think tank," the National Policy
l0
      Institute,founderof the online publicationcalled altright.com,and proponentof
ll
      "ethniccleansing."The complaintallegesthat on Friday,Aug I l,2017,Spencerwas
T2

l3    a leaderof a violent torchlight rally and headlinespeakerof the "Unite the Right" the

1 A
I T   right rally the following day. (Ex. B Complaint n2D. On August 12,violencebroke

      out and becameso severethat the police declaredan unlawful assemblybeforethe
I6
      official starttime of the rally. Another co-defendantin the litigation, JamesAlex
17

      Fields,Jr., drove a Dodge Challengerinto a crowd of protesters,injuring dozensand
IB

l9
      killing a32-yearold HeatherHeyer.(Ex. B Complaintn 2q. Peinovichand Spencer

20    have sharedthe stageon multiple occasionsand Spenceris a frequentcontributorto

2l
      Peinovich'spodcast,TheDaily Shoah.
22
            Andrew Anglin, founderand operatorof the neo-Naziwebsitethe Daily
23
      Stormeris also a co-defendantin this matterthe case.The Daily Stormerhas called
24

25
      its websitethe "world's most genocidal"websiteand is namedafter Der Sttirmer,a

26    MOTION TO QUASH SUBPOENA-7
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              Case 2:18-mc-00062-RSL Document 1 Filed 06/08/18 Page 8 of 14



      I   Nazi propagandatabloidAnglin and his associatesat Daily Stormer,including

  2       DefendantRobert "Azzmador"Ray, useDaily Stormer'swebsite 'oasahardcorefront
  3
          for the conversionof massesinto a pro-white,Anti-semitic ideology," to "sell []
  A
  a

          global white supremacy,"andto "make a racist army." The websitewas the most
  i)


          visited hate site on the Internet in20|6. (Ex. B Complaintll26).
  6

  7              The Daily Stormerorchestrates
                                             the activity of a so called"troll army",which

  8       seeksto and doesoverwhelmadversarieswith inflammatoryand provocativeonline
  9
          conduct.Theseefforts often include doxing: de-anonymizingandpublicizing
l0
          personaldetailsof online users.Suchdoxing exposestargetsto real world threatsof
T1

t )
          stalking,harassment,and physicaldanger.(Ex. E The Intercept-How Right Wing

l3        ExtremistsStalk,Dox, and Harasstheir Enemies).Anglin and otherDaily Stormer

t4        associatesface numerousallegationsin multiple lawsuitsconcerningdoxing and
l5
          trolling. Following a dispute,betweenRictrardSpencer'smother and local real estate
l6
          agentin their hometownof whitefish, Mo., Anglin publishedthe personal
t7
          informationof the Realtorand otherprominentJewishleadersin town and called on
l8

I9        his "stormers"to come to the defenseof the Spencers.(Ex. F NPR- Descendingon a

)n        MontanaTown).
2l
                More recently,Anglin hasbeensuedby American University's studentbody
22
          presidentfor allegedlydirectingthe Daily Stormer'sreadersto troll storm her with a
23
          bartageof racistand demeaningmessages.
                                              (Dumpsonv.Ade et al. l:18-cv-01011
24

25
          (D.D.C. 2018). Last year,American University electedits first African American

26        MOTION TO QUASH SUBPOENA-8
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                                                                                           !06.2)).li+7
         Case 2:18-mc-00062-RSL Document 1 Filed 06/08/18 Page 9 of 14



 I   studentbody president.Following the election,the Daily Stormercalled on readersto

 2   "troll" the new president.The day after her inauguration,a maskedman hung

     bananasfrom nooseson American University's campus,displayingracially-charged
 /
 a


     and threateningmessagestargetingMs. Dumpsonand her historically black sorority.

     other lawsuitsand clairnsagainstAnglin containsimilar allegations.
 6

 7          Another co-defendantin the case,ChristopherCantwell,also conducts

 8   campaignsof online harassment,intimidation,and threatsagainstpolitical
 9
     adversaries.A separatependingmatterin the WesternDistrict of Virginia
t0
     documentsallegationsaboutCantwell's efforts to incite harassmentcampaigns
ll
     againsttwo anti-racistprotesterswho are cooperatingwitnessesfor the prosecutionin
t2

l3   a pendingcriminal caseagainsthim for unlawful deploymentof peppersprayat the

t4   torchrally on August 11. SeeCantwellv. Gorcenski,et al, CaseNo. 3:17-cv-00089-
l5
     NKM/JCH (W.D.Va., filed Dec. 28, 2017). The counterclaims
                                                             in that caseallege
l6
     that Cantwell's online followers havepublishedone witness' home addressmultiple
t7
     times in an attemptto encouragephysicalviolence againsther. This conductalso
l8

I9   allegedlyincludedan attemptat "swatting" a witness.(Making a falsepolice report,

20   usually of an urgent or violent crime in progress,with the intentionof luring law
2l
     enforcementor SWAT to the victim's addressin an effort to harass,intimidate.
22
     injure,or kill the targetedindividual).Cantwell3:17-Iv-00089-NKM/JCH
                                                                        fl 36.
23
     DefendantPeinovichis publicly associatedwith DefendantCantwell,and has
aA



z3
     MOTTON TO QUASH SUBPOENA-g

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                                                                                            l()6.21i.l7+7
          Case 2:18-mc-00062-RSL Document 1 Filed 06/08/18 Page 10 of 14



 I   appearedas a gueston Cantwoll'swhite nationalistpodcast,"The RadicalAgenda".

 z
     See"Radical AgendaEp. 302--Mike Enoch,,'availableat
 5
     https:II archive.org/details/youtub
                                       e-aS"J I WZ S7w (accessedJune6, 20 1g).
 /
 a


            Movant believesthat any informationgatheredby Peinovichthroughthe
 J



     subpoenawill be usedto orchestratesimilar campaignsto harass,intimidate,and
 6

 7   threatenMovant and individualsassociatedwith the Movant. The subpoenais not a

 8   legitimateeffort to obtain relevantevidence.Rather,it is an effort to abusethe
 9
     discoveryprocessto deanonymizean adversarialonline news sourceand exposeits
l0
     usersto harassment,trolling, doxing, and other forms of intimidation.This online
l1
     targetingpresentsa clear and presentdangerof real world harmful threats.
t2

l3   F.     THE SUBPOENAING PARTY CANNOT OVERCOME THE MOVANT'S
            FIRST AMENDMENT RIGHT TO ANONYMOUS SPEECH.
t4
            In AnonymousOnline Speakersv. UnitedStatesDist. Courl, the Ninth Circuit
r5

I6   instructedon anonymousspeechand the First Amendmentin the contextof online

T7   activity:
l8
            First Amendmentproteptionfor anonymousspeechwas first articulateda half-
l9          centuryago in the contextof political speech,Talley v. California, (1960),
            but... harkenedback to "a respectedtradition of anonymity in the advocacyof
20          political causes."Mclntyre v. Ohio ElectionsComm'n.Undoubtedlythe most
            famouspiecesof anonymousAmericanpolitical advocacyare The Federalist
2t
            Papers,pennedby JamesMadison,AlexanderHamilton, and John Jay,but
22          publishedunderthe pseudonym"Publius."Their opponents,the Anti-
            Federalists,alsopublishedanonymously,cloaking their real identitieswith
            pseudonymssuchas "Brutus," "Centinel,"and "The FederalFarmer."It is now
            settledthat "an author'sdecisionto remain anonymous,like other decisions
24
            concerningomissionso1additionsto the contentof a publication,is an aspect
25          of the freedomof speechprotectedby the First Amendment."

26   MOTION TO QUASH SUBPOENA-I0
                                                                           Rar,pn Hunvrtz
                                                                                 Arronrqsy
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    Case 2:18-mc-00062-RSL Document 1 Filed 06/08/18 Page 11 of 14



       Although the Internet is the latestplatform for anonymousspeech,online
       speechstandson the samefooting as other speech-there is "no basisfor
       qualiffing the level of First Amendmentscrutinythat shouldbe applied"to
       online speech.As with other fonns of expression,the ability to speak
       anonymouslyon the Internetpromotesthe robustexchangeof ideasand allows
       individualsto expressthemselvesfreely without "fear of economicor official
       retaliation. . . [or] concernaboutsocialostracism."(CitationsOmitted)

(In re Anonymousonline Speakers),
                               661 F.3d I 168, ll72-1173 (gth Cir.2011). The

Ninth Circuit consideredthat a higher standardshouldapply when a subpoenaseeks

the identity of an anonymousinternet user who is not a party to the underlying

litigation.661 F.3d 1168,1176,citing,Doe v. 2TheMart.comInc., 140F. Supp.2d

1088,1095(W.D. Wash.2001)(notingthat identificationis only appropriatewhere

the compellingneedfor discoveryoutweighsthe First Amendmentright of the

speakersbecauselitigation may continuewithout disclosureof the speakers'

identities);accord,Sedersten
                           v. Taylor,2009U.S. Dist. LEXIS I14525,2009 WL

4802567(W.D.Mo. Dec. 9,2009); Enterlinev. PoconoMed. Ctr.,751 F. Supp.2d

782, (M.D. Pa.Dec. 11,2008).In AnonymousOnlineSpeakersv. UnitedStatesDist.

Court, the Ninth Circuit ultirnatelywent on to hold that it was not error for the district

courtto usethe most exactingstandardof Doe v. Cahill,884 A.2d 451 (Del. 2005)

([subpoenaingparty] must be ableto survive a hypotheticalmotion for summary

judgment and give, or attemptto give, notice to the speakerbefore discoveringthe

anonymous
        speaker's
               identity).661 F.3d 1168,lI79 (9th Cir. 2011).

MOTION TO QUASH SUBPOENA-II




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                                                                                     _ 2 l x2, l. l . l 7 + 7
             Case 2:18-mc-00062-RSL Document 1 Filed 06/08/18 Page 12 of 14



      I          Thiscourt'sopinioni4Doe v. 2TheMart.com,
                                                       Inc. (w.D. wA 2001)140F.
     2    Supp.2d 1088,providesthe clearestguidefor protectingtheFirstAmendmentrights

          of non-partyanonymous
                              spea$ers.
                                     Thecourt established
                                                        a four-parttest:
     A
     a


                 l. Thesubpoena
                              seekinlg
                                     the informationwasissuedin goodfaith andnot for
     5
                 an improperpu{pose;
  6

  7             2. The information soughtrelatesto a core claim or defense;

  8              3. The identi$zinginforpnationis directly and materiallyrelevantto that claim
  9
                or defense;and
l0
                4. Information sufficie4t to establishor disprovethat claim or defenseis
1t
                unavailablefrom any o{hersource.
t2

l3        Supra,140F. Supp.2d, at 1091.

t ^
                In the instantcase,DefQndantPeinovichseeks"communications,documents,

l5
          and ESI sufficient to identi$r the persons,including entities,that havepresently
l6
          registeredor ever in the pastrqgisteredfdomainsof online political news service].
t7
          (Ex. A Subpoena,at 8). Standilrgalone,the subpoenautterly fails to show the
l8

l9
          information soughtis likely to leadto any discoverablerelevantevidence.Moreover,

20        it proffers nothing to meetthe f'irst Amendmentrequirementfor identi$zing

2l
          anonymousspeakers.Arguen{o, evenif the subpoenasomehowmadeaprimafacie
22
          showing,deanonymizingdomainregistrantswould not be the leastrestrictivemeans.
z3

                Finally, to the extentthat the subpoenaultimately seeksthe identitiesof
1A



z3
          MOTTONTO QUASHSUBPpENA-12

zo


                                                                                Rar,pu Ffunvrrz
                                                                                      ArtonNuy
                                                                                         P . ( ) .B ( ) X2 5 ( , + 2
                                                                                 S l : i V Il l - l l ,W A q l i I 6 5
                                                                                                 2 0 6 . 2 ) . J t. -11 7
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      I   anonymous
                  contributors
                             of thgmovant'sonlinenewsservice,the movantalsohasa

      2   first amendment
                       privilegeto s{rieldits sources.
                                                     See,O'Gradyv. SuperiorCourt,139

          Cal.App. 4th 1423,1463
                               (20q6).
      A
      ?


          G.     THE STOREDCOMML]-NICATIONS
                                          ACT PROHIBITSDISCLOSUREOF
      5          THE INFORMATIONSOUGHT.
      6
                 The StoredCommunicdtions
                                       Act preventsa privatepartyfrom usinga
      7
          discovery
                  subpoena
                         to obtaintheinformation
                                               soughthere.18U.S.C.$ $ 2701-271L
      8
          The SCA,passedaspartof th$ElectronicCommunications
                                                          PrivacyAct of 1986,
  9

l0
          prohibitsunauthorized
                              access
                                   bf electroniccommunications
                                                            storedwith online

It        services.
                 It alsolimits the abilipyof providersof communications
                                                                     andcomputing
t2
          servicesto disclosecommunicltions
                                          andrecordsregardingusers.ofsuchservices.
I J

          Subsection
                   2702(a)(l)and(2);,andsubsection
                                                 (a)(3)explicitlyprevent,unlessan
t+
          appropriate
                    exceptionapplies,the disclosure
                                                  to thegovernment
                                                                by anECSor RCS
I J




l6
          providerof a customer"recor{" or ooother
                                                informationpertainingto" a subscriber
                                                                                    or

t7        customer.Subsection                                            - providers
                            2702(a)pnactsa blanketprohibitionon disclosure
l8
          "shallnot knowinglydivulgetp anyperson"the contentsof communications
                                                                            or
t9
                                                            or customer- unlessthey
          recordsor otherinformationpgrtainingto a subscriber
20
          meetthe strictandspecificallyarticulated
                                                 exceptions.
2l

22
                 At leastonecasehasfopndthatuseof a discoverysubpoena
                                                                    by a non-

z3        governmentalentity was prohibited by the SCA. In O'Gradyv. SuperiorCourt, 139
AA
          Cal.App.4th 1423(Cal. App. 2006),a non-governmentlitigant issuedcivil subpoenas
25
          MOTTONTO QUASH SUBPQENA-I3
26

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                                                                                AtronNry
                                                                                    P . O .B ( ) X2 5 6 + 2
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                                                                                           )lYt.2)l.li17
            Case 2:18-mc-00062-RSL Document 1 Filed 06/08/18 Page 14 of 14



     I   to an ECS operatorseekingthp identity and e-mail communicationsof an online

 2       journalist who allegedlywas ifr communicationwith a Doe defendant.the California
 3
         Courtof Appealsfoundthatdlscoverysubpoenas
                                                  couldnot be usedto obtainthe
 /
 T


         materialsought.
 5

 6
                                         CONCLUSION

 7             Thesubpoena
                         at issueSuffersfrom numerousdefectsandinfirmities.It seeks
 8       compliance
                  outsideof the limiis setforthin Fed.RuleCiv. P. a5(c).Additionally,
 9
         servicewasdefective.Moreor/er,
                                     the subpoena
                                                wasnot issuedin goodfaith. It is an
10
         effortto abusethe discoveryptocessto deanonymize
                                                        an adversarial
                                                                    onlinenews
ll
         sourceandexposeits usersto frarassment,
                                             trolling,doxing,andotherformsof
t2

l3       intimidation.The subpoena
                                 sEeksirrelevantinformationthatis protectedby theFirst

L4       Amendmentrights to anonym
                                     Qusspeechandtheprivilegeto shieldsources.
                                                                            Finally,
l5
         the informationsoughtis prohlbitedby the StoredCommunication
                                                                    Act which
l6
         protectsthe subscriber
                              inform{tion.Consequently,
                                                     this Courtmustgrantthe motion
L7
         to quashthe subpoena.
1B

t9             Datedthis7thdayof Juile,2018.

20                                             Respectfully
                                                          submitted,
2L
                                    s/RalphHurvitz
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26       MOTTONTO QUASH SUBPoENA_l4
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